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                               UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF ILLINOIS

  JESSICA GOUWENS, individually and on                  Case No. 3:22-cv-50016
  behalf of all others similarly situated,
                                                        The Honorable Iain D. Johnston
                  Plaintiff,

          v.

  TARGET CORPORATION,

                  Defendant.


                    TARGET CORPORATION’S L.R. 3.2 STATEMENT

       Pursuant to Local Rule 3.2 and Federal Rule of Civil Procedure 7.1, the undersigned

counsel for Target Corporation states that Target is a publicly traded corporation and identifies the

following “affiliates” that own 5% or more of Target’s stock: (1) the Vanguard Group; (2) SSgA

Funds Management, Inc.; and (3) BlackRock Fund Advisors.



 Dated: June 3, 2022                                       Respectfully submitted,

                                                           By: /s/ Dean N. Panos
                                                               Dean N. Panos (ARDC No. 6203600)
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                                                               Attorneys for Defendant
                                                               Target Corporation




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                                CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a copy of the foregoing document was filed on June

3, 2022 with the Clerk of the Court by using the CM/ECF system, which will effect electronic

service on all parties and attorneys registered to receive notifications via the CM/ECF system.


Dated: June 3, 2022                                  By:          /s/ Dean N. Panos
                                                                      Dean N. Panos




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